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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,            CR. NO. 2:99-00433 WBS
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                  Plaintiff,              MEMORANDUM AND ORDER RE:
14                                        DEFENDANTS’ MOTION TO DISMISS
          v.                              COUNTS TWO, THREE, FIVE, SEVEN,
15                                        AND NINE
     THONGSOUK THENG LATTANAPHOM;
16   MINH HUYNH,

17                Defendants.

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20
21              Defendant Thongsouk Theng “Kevin” Lattanaphom moves to
22   dismiss counts two, three, seven, and nine of the Indictment in
23   this action pursuant to a recent Supreme Court decision, Johnson
24   v. United States, 135 S. Ct. 2551 (2015).        (Docket No. 1646.)
25   Defendant Minh Huynh joined in this motion and additionally asks
26   the court to dismiss count five--a count on which Huynh, but not
27   Lattanaphom, was convicted.      (Docket Nos. 1648, 1657.)
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1    I.    Factual & Procedural History

2                The government charged Lattanaphom, Huynh, and several

3    other defendants with conspiracy to commit a robbery affecting

4    interstate commerce, 18 U.S.C. § 1951(a) (counts one, four, six,

5    and eight); use of a firearm during a crime of violence, 18

6    U.S.C. § 924(c) (counts two, five, seven, and nine); and death

7    caused by use of a firearm during a crime of violence and aiding

8    and abetting, then-numbered 18 U.S.C. §§ 924(i)(1)-(2) (count

9    three).     (Indictment (Docket No. 1).)      Lattanaphom was not

10   charged with counts four or five.         A jury found defendants guilty

11   of all charges.     (See Docket Nos. 1413, 1525.)      This court

12   sentenced Lattanaphom to life plus 540 months and Huynh to life

13   plus 780 months.     (Id.)

14               On direct appeal, the Ninth Circuit affirmed this

15   court’s judgment in part, reversed in part, and remanded.           (Ninth

16   Cir. Mandate (Docket No. 1624).)         The Ninth Circuit’s mandate

17   directs this court to vacate the conviction and sentence only on

18   count two for use of a firearm during a crime of violence under

19   § 924(c).    (Id. at 6.)     In addition, “because vacatur of the

20   first § 924(c) conviction affects the treatment of any ‘second or
21   subsequent’ § 924(c) convictions,” the mandate requires

22   resentencing on count five for Huynh and count seven for

23   Lattanaphom.     (Id.)   Defendants’ sentences of life imprisonment

24   on count three were not affected by the mandate.

25               Defendants now move to dismiss all counts charged under

26   § 924(c): counts two, three, five, seven, and nine.          (Docket Nos.
27   1646, 1657.)

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1    II.   Authority to Consider Defendants’ Motion to Dismiss

2                According to the rule of mandate, when a case has been

3    decided by an appellate court and remanded to the lower court,

4    “whatever was before” the appellate court, “and disposed of by

5    its decree, is considered as finally settled.”         In re Sanford

6    Fork & Tool Co., 160 U.S. 247, 255 (1895).        The lower court is

7    “bound by the decree as the law of the case, and must carry it

8    into execution according to the mandate.”        Id.   However, lower

9    courts are free to “consider and decide any matters left open by

10   the mandate.”     Id. at 256.

11               In “determining ‘what was heard and decided’ by the

12   appellate court . . . the lower court may consider the opinion

13   the mandate purports to enforce as well as the procedural posture

14   and substantive law from which it arises.”        United States v.

15   Kellington, 217 F.3d 1084, 1093 (9th Cir. 2000) (citation

16   omitted).     The “ultimate task” of the lower court is therefore to

17   “distinguish matters that have been decided on appeal, and are

18   therefore beyond the jurisdiction of the lower court, from

19   matters that have not.”     Id.

20               In Kellington, following a jury conviction, the
21   defendant moved for judgment of acquittal and for a new trial.

22   Id. at 1091.    The district court granted the motion for judgment

23   of acquittal and denied the motion for new trial as moot.           Id.

24   The government appealed the judgment of acquittal and the Ninth

25   Circuit reversed and remanded for entry of judgment and for

26   sentencing.     Id.   1091-92.   On remand, defendant renewed his
27   motion for new trial and the district court granted it.            Id. at

28   1092.   The government again appealed and the Ninth Circuit
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1    affirmed.   Id. at 1095.    The Ninth Circuit explained that the

2    motion for new trial was never before it and there could “be no

3    implication that, in reversing the judgment of acquittal, the

4    Kellington I court implicitly disposed of the merits of the

5    motion for new trial.”     Id. at 1094.    As a result, the district

6    court “did not exceed its authority on remand by reinstating the

7    motion for new trial.”     Id. at 1095.

8                In contrast, in Ernst v. Western States Chiropractic

9    College, 40 Fed. App’x 557, 578 (9th Cir. 2002), the district

10   court denied plaintiff’s motion for attorney’s fees and

11   defendant’s motion to review the jury’s punitive damages award

12   for excessiveness on remand on the ground that the Ninth

13   Circuit’s mandate “precluded consideration of the motion[s].”

14   When the parties appealed, the Ninth Circuit found that the

15   district court had “misread the import of Ernst I”--its mandate

16   did not explicitly address attorney’s fees or punitive damages

17   and, as a result, “those issues remained open for consideration”

18   by the district court.     Id. at 578-80.    Though “the law of the

19   case and the rule of mandate prevent further consideration of

20   issues already decided, they do not prevent further consideration
21   of an issue that was left undecided and that a party had no

22   obligation to raise in the earlier appeal.”        Id. at 580.

23               Lastly, in EEOC v. Sears, Roebuck & Co., 417 F.3d 789,

24   796 (7th Cir. 2005), the Seventh Circuit found that the district

25   court had authority to reexamine an issue resolved in an earlier

26   appeal because it reasonably believed there had been a relevant
27   change in the law.    The court made clear that though an issue

28   “conclusively decided by” the court of appeal generally may not
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1    be reconsidered by the district court on remand, an “appellate

2    mandate does not turn a district judge into a robot, mechanically

3    carrying out orders that become inappropriate in light of

4    subsequent factual discoveries or changes in the law.”             Id. at

5    796 (citation omitted).     “Our decisions do not bind the district

6    court when there has been a relevant intervening change in the

7    law.”    Id.

8               In this case, the Ninth Circuit reviewed defendants’

9    convictions on appeal and remanded only for resentencing on one

10   count.   (Ninth Cir. Mandate at 6.)      Despite the validity of the

11   convictions having been in front of the Ninth Circuit, defendants

12   argue that the Supreme Court’s intervening case, Johnson v.

13   United States, 135 S. Ct. 2551 (2015), calls into question the

14   constitutionality of 18 U.S.C. § 924(c), under which defendants

15   were sentenced, and provides new grounds for dismissal.            This

16   issue was not briefed by the parties or in front of the Ninth

17   Circuit since Johnson was not decided until two months after the

18   Ninth Circuit filed its memorandum disposition.1

19              Due to the fact that Johnson was not and could not have

20   been considered by the Ninth Circuit on appeal and that
21   defendants reasonably argue that it represents an intervening

22   change in the law, this court finds that it has authority to

23   consider defendants’ motion to dismiss.

24              Furthermore, the court finds defendants’ motion to

25   dismiss to be procedurally proper.       Generally, a motion to

26   dismiss must be brought before trial.       Fed. R. Crim. P. 12(b)(3).
27        1
               The Ninth Circuit filed its memorandum on April 29,
     2015 (Docket No. 1623) and its mandate on July 17, 2015 (Docket
28   No. 1624). Johnson was decided on June 26, 2015.
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1    However, a motion that the indictment fails to charge an offense

2    or “that the court lacks jurisdiction may be made at any time

3    while the case is pending.”      Id. at 12(b)(2)-(3).     A “case is no

4    longer ‘pending’ within the meaning of Rule 12(b) after the

5    judgment becomes final.”     United States v. Rios-Hernandez, Cr.

6    No. 3:93-00091 HDM, 2013 WL 4857952, at *1 (D. Nev. Sept. 10,

7    2013); see also, United States v. Valadez-Camarena, 402 F.3d

8    1259, 1261 (10th Cir. 2005) (finding defendant’s case was no

9    longer pending since it had been “reduced to judgment, affirmed

10   on appeal, and rejected for certiorari review”).         Defendants’

11   case has been remanded to this court for resentencing and is

12   therefore still pending.

13   III. Johnson v. United States

14                In Johnson, the Supreme Court recently held that the

15   language in the residual clause of the Armed Career Criminal Act

16   of 1984 (“ACCA”), 18 U.S.C. § 924(e), is facially void for

17   vagueness.    135 S. Ct. at 2557.    The “void-for-vagueness doctrine

18   requires that a penal statute define the criminal offense with

19   sufficient definiteness that ordinary people can understand what

20   conduct is prohibited and in a manner that does not encourage
21   arbitrary and discriminatory enforcement.”        Kolender v. Lawson,

22   461 U.S. 352, 357 (1983).     “It is a fundamental tenet of due

23   process that ‘[n]o one may be required at peril of life, liberty

24   or property to speculate as to the meaning of penal statutes.’”

25   United States v. Batchelder, 442 U.S. 114, 123 (1979) (citation

26   omitted).    This principle applies to both vague criminal statutes
27   and vague sentencing provisions.        Id.

28                The ACCA provides sentence enhancements for any person
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1    who illegally ships, possesses, or receives firearms and has

2    three or more earlier convictions for a “serious drug offense” or

3    “violent felony.”    18 U.S.C. § 924(e)(1).      The Act defines the

4    term “violent felony” as:

5         [A]ny crime punishable by imprisonment for a term
          exceeding one year, or any act of juvenile delinquency
6         involving the use or carrying of a firearm, knife, or
          destructive   device  that   would  be   punishable  by
7         imprisonment for such term if committed by an adult,
          that--
8         (i) has as an element the use, attempted use, or
          threatened use of physical force against the person of
9         another; or
          (ii) is burglary, arson, or extortion, involves use of
10        explosives, or otherwise involves conduct that presents
          a serious potential risk of physical injury to another.
11

12   Id. § 924(e)(2)(B) (emphasis added).

13              In Johnson, the Court found that the residual clause,

14   underscored above, “both denies fair notice to defendants and

15   invites arbitrary enforcement by judges.”        135 S. Ct. at 2557.

16   The Court explained that “[t]wo features of the residual clause

17   conspire to make it unconstitutionally vague.”         Id.   First, it

18   “ties the judicial assessment of risk to a judicially imagined

19   ‘ordinary case’ of a crime, not to real-world facts or statutory

20   elements.”   Id.    The court must use a categorical approach,
21   picturing in abstract terms whether the kind of conduct

22   ordinarily involved in the crime presents a serious potential

23   risk of physical injury.     Id.   The Supreme Court questioned how

24   one goes “about deciding what kind of conduct the ‘ordinary case’

25   of a crime involves”--does the ordinary instance of witness

26   tampering, for example, involve offering a witness a bribe or
27   threatening a witness with violence?       Id.   Does attempted

28   burglary consist of an armed would-be burglar being spotted by a
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1    homeowner who may give chase, thus giving rise to a potentially

2    violent encounter?    Or does it consist of an occupant yelling,

3    “Who’s there?” from the window and the burglar running away?             Id.

4    at 2558.   The Court concluded that the “residual clause offers no

5    reliable way to choose between these competing accounts of what”

6    the ordinary crime involves.      Id.

7               Second, it is unclear from the residual clause “how

8    much risk it takes for a crime to qualify as a violent felony.”

9    Id.   There is uncertainty in how to apply the “serious potential

10   risk” standard to a judge-imagined abstraction, rather than real-

11   world facts.   Id.    Furthermore, there is also indeterminacy in

12   interpreting “serious potential risk” in light of the four

13   enumerated crimes--burglary, arson, extortion, and crimes

14   involving the use of explosives.        Id.   These offenses are “far

15   from clear in respect to the degree of risk each poses.”           Id.

16   (citation omitted).

17   IV.   Application of Johnson to 18 U.S.C. § 924(c)

18              Existing authority in the Ninth Circuit compels this

19   court to extend Johnson to the residual clause of 18 U.S.C.

20   § 924(c), a portion of the federal statute with language similar
21   to that of the ACCA residual clause.          Like the ACCA, § 924(c)

22   provides sentence enhancements for any person who, “during and in

23   relation to any crime of violence or drug trafficking crime . . .

24   uses or carries a firearm, or who, in furtherance of any such

25   crime, possesses a firearm.”      18 U.S.C. § 924(c)(1)(A).        The

26   statute defines “crime of violence” as a felony that:
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     Case 2:99-cr-00433-WBS Document 1659 Filed 02/02/16 Page 9 of 14


1         (A) has as an element the use, attempted use, or
          threatened use of physical force against the person or
2         property of another, or
          (B) that by its nature, involves a substantial risk
3         that physical force against the person or property of
          another may be used in the course of committing the
4         offense.

5
     Id. § 924(c)(3) (emphasis added).
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                As with the ACCA, in deciding whether a crime is
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     encompassed by the § 924(c) residual clause, the court must apply
8
     a categorical approach.     United States v. Amparo, 68 F.3d 1222,
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     1224 (9th Cir. 1995).     “This categorical approach is in contrast
10
     to the circumstantial or case-by-case method that requires the
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     district court to inquire into the facts of the particular case.”
12
     United States v. Mendez, 992 F.2d 1488, 1490 (9th Cir. 1993).
13
     Thus, the court must undertake the ambiguous task of deciding
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     what kind of conduct the ordinary case of a crime involves.
15
                The court also faces similar difficulties in
16
     determining what degree of risk is “substantial” under the
17
     § 924(c) residual clause.     As the Court in Johnson discussed with
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     regard to the interpretation of “serious potential risk” under
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     the ACCA, the § 924(c) residual clause requires the court to
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     apply an imprecise standard to a judicial abstraction of a crime.
21
                The Court made it clear in Johnson that it was not
22
     invalidating all “criminal laws that use terms like ‘substantial
23
     risk,’ ‘grave risk,’ and ‘unreasonable risk.’”         135 S. Ct. at
24
     2561.   It noted that most criminal statutes do not link “a phrase
25
     such as ‘substantial risk’ to a confusing list of examples.”           Id.
26
     However, the Court also emphasized that the ACCA residual clause
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     was distinguishable because most criminal statutes “require
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1    gauging the riskiness of conduct in which an individual defendant

2    engages on a particular occasion.”        Id.   While the § 924(c)

3    residual clause does not include a confusing list of examples, it

4    does require the assessment of riskiness in isolation from any

5    particularized facts or conduct.

6               The application of Johnson to § 924(c) is also

7    supported by the Ninth Circuit’s recent decision, Dimaya v.

8    Lynch, 803 F.3d 1110 (9th Cir. 2015).        In Dimaya, a lawful

9    permanent resident sought review of the Board of Immigration

10   Appeals’ determination that a conviction for burglary is

11   categorically a “crime of violence” as defined by 8 U.S.C.

12   § 1101(a)(43)(F).     Id. at 1111.    That statute defines a “crime of

13   violence” by reference to 18 U.S.C. § 16, which contains

14   identical language to that in the § 924(c) residual clause.2         The

15   Ninth Circuit held that this definition of a crime of violence

16   “suffers from the same indeterminacy as” the ACCA’s residual

17   clause at issue in Johnson and, as a result, “is also void for

18   vagueness.”     Id. at 1111.   Thus, the Ninth Circuit reviewed

19   language identical to that at issue in this case and found that

20   it was unconstitutionally vague.
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          2
               The statue at issue in Dimaya defines a “crime of
23   violence” as:
24        (a) an offense that has as an element the use,
          attempted use, or threatened use of physical force
25        against the person or property of another, or
          (b) any other offense that is a felony and that, by its
26        nature, involves a substantial risk that physical force
          against the person or property of another may be used
27        in the course of committing the offense.
28   18 U.S.C. 16.
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1               Judge Callahan dissented from the Dimaya opinion,

2    reasoning that Johnson “does not infect 18 U.S.C. § 16(b)--or

3    other statutes--with unconstitutional vagueness.”          Dimaya, 803

4    F.3d at 1120.    Unlike the ACCA, Judge Callahan argued § 16(b)

5    does not have the same list of confusing examples and has not

6    “proven to be unworkably vague.”         Id. at 1127-29.   To the

7    contrary, the Supreme Court established over a decade ago that

8    § 16(b) covers offenses that naturally involve a person “acting

9    in disregard of the risk” that physical force might be used

10   against another in committing the offense.         Id. at 1129.

11   Furthermore, the Court in Johnson made clear that it did not

12   intend to abandon the categorical approach altogether because

13   there were good reasons for adopting this approach, “one of which

14   is the ‘utter impracticability of requiring a sentencing court to

15   reconstruct, long after the original conviction, the conduct

16   underlying that conviction.’”      Id. at 1127 (quoting Johnson, 135

17   S. Ct. at 2562).    She concluded by stating: “I fear that we have

18   again ventured where no court has gone before and that the

19   Supreme Court will have to intervene to return us to our proper

20   orbit.”    Id. at 1129.   Despite Judge Callahan’s dissent, the
21   Ninth Circuit recently denied respondent’s petition for rehearing

22   en banc.   As a result, the Dimaya opinion is final and this court

23   must recognize it as binding precedent.

24              The Ninth Circuit is not alone in extending the reach

25   of Johnson.    In United States v. Vivas-Ceja, 808 F.3d 719, 720

26   (7th Cir. 2015), the Seventh Circuit similarly held that “§ 16(b)
27   is materially indistinguishable from the ACCA's residual clause”

28   and “it too is unconstitutionally vague according to the
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1    reasoning of Johnson.”     The court found that § 16(b) “requires

2    the identical indeterminate two-step approach” as the ACCA

3    residual clause: the court must first determine what constitutes

4    the “ordinary case” of a crime and then how much risk qualifies

5    as “substantial” without any guidance from the statute.             Id. at

6    722-23.

7               The Ninth Circuit has yet to rule specifically on the

8    constitutionality of the § 924(c) residual clause or the

9    application of Johnson and Dimaya to that statute.          However, just

10   last week, Judge Orrick in the Northern District of California,

11   in a well-reasoned decision held that the § 924(c) residual

12   clause “cannot stand under Johnson.”        United States v. Bell, Cr.

13   No. 15-00258 WHO, 2016 WL 344749, at *12 (N.D. Cal. Jan. 28,

14   2016).    Judge Orrick found that the “core of the Johnson II

15   analysis is focused on the indeterminacy created by application

16   of the categorical approach to the broad language of the ACCA

17   residual clause.”     He concluded that the analysis of Johnson,

18   Dimaya, and Vivas-Ceja must be applied “with equal force” to the

19   § 924(c) residual clause.      Id.

20              This court recognizes that many districts outside of
21   the Ninth Circuit have declined to extend Johnson to the § 924(c)

22   residual clause.    However, none of those courts are bound by the

23   Ninth Circuit and its decision in Dimaya.        For example, the

24   Eastern District of Virginia denied defendant’s motion to dismiss

25   several counts on the grounds that § 924(c) is unconstitutionally

26   vague after Johnson.     United States v. Hunter, Cr. No. 2:12-124
27   RAJ, 2015 WL 6443084, at *2-3 (E.D. Va. Oct. 23, 2015).             The

28   court held that the “ACCA had faced significantly more confusion
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1    in the lower courts, was a much broader clause than § 924(c), and

2    required courts to analyze conduct outside of that conduct

3    required for the charged offense.”       Id. at *2.    It concluded that

4    the Supreme Court did not intend for Johnson to invalidate the

5    residual clause of § 924(c).      Id.    However, the court also

6    recognized that the “Ninth Circuit very recently came to the

7    opposite conclusion on the Johnson question in Dimaya v. Lynch.”

8    Id. at *3; see also, United States v. Tsarnaev, Cr. No. 13-10200

9    GAO, 2016 WL 184389, at *13 (D. Mass. Jan. 15, 2016) (finding

10   that Johnson does not require the conclusion that § 924(c)’s

11   residual clause is unconstitutionally vague); United States v.

12   Lusenhop, Cr. No. 1:14-122 SSB, 2015 WL 5016514, at *3 (S.D. Ohio

13   Aug. 25, 2015) (“Nothing in Johnson reasonably suggests that if

14   presented with the question, the Supreme Court would conclude

15   that Section 924(c)(3)(B) is unconstitutionally vague.”); United

16   States v. Prickett, Cr. No. 3:14-30018 PKH, 2015 WL 5884904, at

17   *2–3 (W.D. Ark. Oct. 8, 2015) (finding that the court need not

18   engage in a categorical analysis to ensure consistent application

19   of § 924(c) and therefore Johnson is inapplicable); United States

20   v. Checora, Cr. No. 2:14-457 DAK, 2015 WL 9305672, at *8-9 (D.
21   Utah Dec. 21, 2015) (finding that the language of § 924(c)

22   differs in significant respects from the ACCA residual clause).

23              The only binding authority in the Ninth Circuit compels

24   this court to find § 924(c) void for vagueness.         The Dimaya court

25   extended Johnson to a statute with identical language as that in

26   the § 924(c) residual clause and cannot be distinguished.
27   Accordingly, this court must reach the same conclusion as Judge

28   Orrick and find the § 924(c) residual clause unconstitutional.
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1               IT IS THEREFORE ORDERED that defendants’ motion to

2    dismiss counts two, three, five, seven, and nine of the

3    Indictment be, and the same hereby is, GRANTED.

4    Dated:   February 1, 2016

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